CaS€ lilS-CV-02564-T.]K

Document 1-1 Filed 11/07/18 Page 1 of 18

Filed

D.C. Superior Court
09/23/2018 13:04PM
Clerk of the Court

|N THE SUPER|OR COURT FOR THE DISTRICT OF COLUMB|A

JA|ME HENAO
4920 CHOWAN AVENUE
ALEXANDR|A, VA 22312

P!aintiff,
v.

SM|THS DETECT|ON, INC.
2202 LAKES|DE BLVD.
EDGEWOOD, MD 21040
Serve on:

CT Corporation System
1015 15th Street NW

Suite 1000

Washington, DC 20005

and

C.H. ROB|NSON
TRANSPORTAT|ON COMPAN¥,
INC., AlK/A C.H. ROBINSON
COMPANY, INC.

14701 HARLSON ROAD

EDEN PRA|RE, MN 55334
Serve on:

C|VIL D|VlSION

ease N'c>-r 2018 CA 006886 B

CSC-Lawyers |noorporating Svc. Co.:

7 St. Paul St.
Suite 820
Baltimore, MD 21202

and

C.H. ROB!NSON COMPANV
14701 HARLSON ROAD
EDEN PRA|RE, MN 55334
Serve on:

CSC-Lawyers lncorporating Svc. Co.

7 St. Paul St.
Suite 820 .
Bahimore, NID 21202

Defendants.

 

 

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COMPLA|NT
lNTRODUCTlON
Jamie Henaol through counsel, Benjamin T. Boscolo, Ashley E. Strandjord., and
7 CHASENBOSCOLO, brings this cause of action against Defendants Smiths Detection, lnc.,
C.H. Robinson Transportation Company a/k/a C.H. Robinson Company, inc., and C.H.
Robinson Company for damages resulting from injuries that occurred as a result of the

Defendants' negligence

.JNM
1. Jurisdiction of this Court is founded upon D.C. Code 11-921, e_t seg, 2001 Editlon, as
supplemented.

2. Jurisdiction of this Court is founded upon D.C. Code. § 13~423, et §eg, 2001 Edition, as

supplemented
PARTlES
3. Jaime Henao ("Nlr. Henao”) is a resident of the city of Alexandria, \firginia.
4. Upon information and belief, Defendant Smiths Detections, lnc. ("Defendant Smiths") is

a business entity with a principal place of business located in Edgewoo<:ll l\./larylandl that
is registered to conduct, and does conduct, business in the District of Columbia.

5. Upon information and belief, Defendant, C.H. Robins'on Transportation Company, lnc.
a/l</a C.H- Robinson Company, lnc. (“Defendant Transportation”) is a business entity
with a principal place of business located in Eden Prairie, Minnesota, that conducts
business in the District of Columbia.

6. Upon information and beliefl Defendant, C.H. Robinson Company, lnc. ("Defendant
Robinson") is a business entity with a principal place of business located in Eden Prairie,

Minnesota, that conducts business in the District of Columbia.

 

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STATEMENT OF FACTS

Defendant Smiths’ manufactures a piece of equipment called the Detection Hl-SCAN
60465i (hereinafter “Scanner"). lt is used by security personnel to x-ray containers of all
kinds that are being brought into buildings The scanner weighs approximately 881
pounds. Because of the weight of the swnner, it requires at least two (2) people to move it.
Defendant Smith sold a Scanner for installation and use at 1 Columbus Circle NE,
Washington, D.C.

Defendant Smith hired Defendant Robinson and/or Defendant Transportation to deliver
the Scanner to 1 Columbus Circle NE, Washingtonl D.C.

On or about 'December 7, 2015, Defendant Robinson and/or Defendant Transportation
sent one of its drivers to deliver the Scanner to 1 Columbus Circle NE, Washington, D.C.

. At all times relevant to acts and omission on which this civil action is based, Defendants

Robinson and/or Transportation were acting on the instruction or permission of
Defendant Smiths. Defendants Robinson and/or Transportation were acting within the
scope of the instruction or permission of Defendant Smiths. As such, at all times
' Defendants Robinson and/or Transportation were agents of Defendant Smiths.

At all times relevant to acts and omission on which this civil action is based, Driver was
an employee of Defendant Robinson and/or Defendant Transportation. Dn`ver was
acting on the instruction or permission of Defendant Robinson and/or Defendant
Transportation.- Driver was acting within the scope of the instruction or permission of
Defendant Robinson and/or Defendant Transportation. As such, at all times, Driver was
an agent of Driver was acting on the instruction or permission of Defendant CH
Robinson and/or Defendant Transportation.

On December 7, 2015, Driver arrives at 1 Columbus Circle and begins to unload the
Scanner. Driver moves the Scanner to the lift gate of the delivery truck. Driver struggles

to control the Scanner. it appears that the Scanner going to fall off the lift gate.

 

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Case 1:18-cv-02564-T.]K Document 1-1 Filed 11/07/18 Page 4 of 18

Mr. Henac approaches Driver to offer assistance. Driver loses control of the Scanner.
The Scanner falls on Mr. Henao’s injuring him.

lt is the duty of Defendant Smiths to make sure that its equipment is delivered safeiy.

lt is the duty of Defendant Smiths to tell delivery companies it hires that it takes no less
than two people to deliver the Scanner.

lt is the duty of Defendant Smiths to hire companies who are qualified to deliver its
equipment safe|y.

lt is the duty of Defendant Smiths to hire companies who are qualified to deliver its
equipment safely.

lt is the duty of Defendant Smiths to_know of Defendants Robinson's propensities to
improperly deliver the Scanner. l

lt was the duty of Defendant Smith to know of Defendants Robinson's propensities to
deliver the Scanner in a dangerous manner. d
lt is the duty of Defendant Smiths to know cf Defendants Transportation’s propensities to
improperly deliver the Scanner.

lt is the duty of Defendant Smiths to know of Defendants Transportation’s propensities to
deliver the Scanner in a dangerous manner.-

lt is the duty of Defendant Smiths to comply with all applicable Federal and District of
Columbia regulations designed to promote and protect public safety.

Defendant Smiths breached its duty by choosing not to make sure its equipment is
delivered safely.

Defendant Smiths breached its duty by choosing not to tell delivery companies it hires
that it takes no less than two people to deliver the Scanner.

Defendant Smiths breached its duty by choosing not to hire companies who are qualified

to safely deliver its equipment

 

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Case 1:18-cv-02564-T.]K Document 1-1 Filed 11/07/18 Page 5 of 18

Defendant Smiths breached its duty by choosing not to know of Defendants Robinson's
propensities to deliver the Scanner improperly

Defendant Smiths breached its duty by choosing not to know of Defendants Robinson's
propensities to deliver the Scanner in a dangerous manner. 1
Defendant Smiths breached its duty by choosing not to know of Defendants
Transportation’s propensities to improperly deliver the Scanner.

Defendant Smiths breached its duty by choosing not to know of Defendants
Transportation’s propensities to deliver the Scanner in a dangerous manner.

Defendant Smiths breached its duty when it chose not to comply with all applicable
Federal and District of Columbia regulations designed to promote and protect public
safety. ‘

lt is the duty of Defendant Robinson to deliver equipment safely.

lt is the duty of Defendant Robinson to assign as many employees as is takes to deliver
equipment safely.

lt is the duty of Defendant Robinson to have a written policy concerning the safe delivery
of equipment

lt is the duty of Defendant Robinson to enforce its written policy concerning the safe
delivery of equipment

lt is the duty of Defendant Robinson to hire safe, qualified delivery people.

lt is the duty of Defendant Robinson to train its employees to deliver equipment safely

lt is the duty of Defendant Robinson to supervise its’ employees to be sure they deliver
equipment safe|y.

lt is the duty of Defendant Smiths to comply with all applicable Federal and District of
Columbia regulations designed to promote and protect public safety.

Defendant Robinscn breached its duty when it chose not to safely deliver'equipment.

 

 

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Defendant Robinson breached its duty when it chose not to assign as many employees
as is takes to deliver equipment safely.

Defendant Robinson breached its duty when it chose not to have a written policy
concerning the safe delivery of equipment

Defendant Robinson breached its duty when it chose not to enforce its written policy

concerning the safe delivery of equipment

Defendant Robinson breached its duty when it chose not to assign as many employees

as is takes to deliver equipment safely

Defendant Robinson breached its duty when it chose not to hire safe, qualified delivery
personnel.

Defendant Robinson breached its duty when it chose not to .train its employees to deliver
equipment safely_

Defendant Robinson breached its duty when it chose riot to supervise its employees to
be sure they deliver equipment safely.

Defendant Robinson breached its duty when it chose not to comply with all applicable
Federal and District of Columbia regulations designed to promote and protect public
safety.

lt is the duty cf Defendant Transportation to deliver equipment safely.

lt is the duty of Defendant Transportation to assign as many employees as is takes to
deliver equipment safely

lt is the duty of Defendant Transportation to have a written policy concerning the safe
delivery of equipment

lt is the duty of Defendant Transportatlon to enforce its written policy concerning the safe
delivery of equipment

lt is the duty of Defendant Transportation hire safe, qualified delivery personnel.

 

 

 

 

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48. lt is the duty of Defendant Transportation to train its employees to deliver equipment
safely.

49. lt is the duty of Defendant Transportation to supervise its employees to be sure they
deliver equipment safely.

50. it is the duty of Defendant Smiths to comply with all applicable Federal and District of
Columbia regulations designed to promote public safety.

51. Defendantl Transportaticn breached its duty when it chose not to deliver equipment
safely.

52. Defendant Robinson breached its duty when it chose not to assign as many employees
as is takes to deliver equipment safely.

53. Defendant Transportation breached its duty when it chose not to have a written policy
concerning the safe delivery of equipment n

54. Defendant Transportation breached its duty when it chose not to enforce its written
policy concerning the safe delivery of equipment

55. Defendant Transportation breached its duty when it chose not to assign as many
employees as i_s takes to deliver equipment safely.

56. Defendant Transportation breached its duty when it chose not to hire safe, qualified
delivery personnel.

57. Defendant Transportation breached its duty when it chose not to train its employees to
deliver equipment safely.

58. Defendant Transportation breached its duty when it chose not to supervise its
employees to be sure they deliver equipment safely

59. Defendant Transportation breached its duty when it chose not to comply with all
applicable Federal and District of Columbia regulations designed to promote and protect

public safety. §

 

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As a direct and proximate result of the negligence of Defendants Smiths, Transportation
and Robinson Company,. lVlr. Henao has endured severe and uncompensated damages
These damages include past, presentl and future physical symptoms, immobility,
isolation, and a diminished capacity to perform his activities of daily living and enjoy life.
Nlr. Henac endured and continues to endure from mental and emotional damages,
including frustration, fright. shock and anguish. Mr. Henac has lost and Will continue to
lose wages and wage earning opportunities
Mr. Henac neither contributed to the violations of the safety rules that caused this
incident, nor assumed the risk of injuries sustained ~
STATEMENT OF CLAlMS
COUNT|
[NEGL'|GENCE}
M_r. Henao. incorporates the allegations of paragraphs one through sixty-one above and,
in additionl avers that Defendant Smiths choices constitute negligence justifying an
allowance of money damages against defendant Smith.
COUNT ll
(V|CAR|OUS LlBAiLlTY- SMlTHSi
Mr. Henao, incorporates the allegations of paragraphs one through sixty-two above and,
in additionl avers that Defendant Smiths is vicariously liable for its agents' choices that
constitute negligence justifying an allowance of money damages against defendant
Smith.
COUNT l||
(NEGL|GENT HlRlNG - SM|THS}
Mr. Henao, incorporates the allegations of paragraphs one through sixty-three above

and, in additionl avers that Defendant Smiths is vicariously liable for its agents choices

 

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Case 1:18-cv-02564-T.]K Document 1-1 Filed 11/07/18 Page 9 of 18

that constitute negligence justifying an allowance of money damages against defendant
Smith.

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iNEGLlGENCE PER SE - SMlTHSl

Mr. Henaol incorporates the allegations of paragraphs one through sixty-four above and,
in addition, avers that Defendant Smiths choices constitute negligence per se justifying
an_ allowance of money damages against defendant Smith.

COUNT V

MLGM_FMH§O_N}

Mr. Henao, incorporates the allegations of paragraphs one through sixty-five above and,
in addition, avers that Defendant Robinson's choices that constitute negligence justifying
an allowance of money damages against defendant Robinson.

COUNT Vl

[VlCAR|OUS LlABlLITY - ROB|NSON)

l\llr. Henao. incorporates the allegations of paragraphs one through sixty-six above and1
in addition, avers that Defendant Robinson is vicariously liable for its agents’ choices
that constitute negligence justifying an allowance of money damages against defendant
Robinson.

M_\M

iN_EGLiGENT HlRlNG\ TRAIN|NG AND SUPERVlSlON - ROB|NSON)

lVlr. Henao, incorporates the allegations of paragraphs one through sixty-seven above
and, in additionl avers that Defendant Robinson choices constitute negligent, hiring
training and supervision justifying an allowance of money damages against defendant

Robinson.

 

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ML|_T_VM
jNEGLlGENCE PER SE - ROB|NSONL

69. Mr. Henao, incorporates the allegations of paragraphs one through sixty-eight above
and, in addition, avers that Defendant Robinson choices constitute negligence per se
justifying an allowance of money damages against defendant Robinson.

COUNT lX
LNEGLlGENCE- - TRANSPORTAT|ONi

70. Mr. Henao, incorporates the allegations of paragraphs one through sixty-nine above and,
in addition, avers that Defendant Transportation is vicariously liable for its agents’
choices that constitute_negligence justifying an allowance of money damages against
defendant Transportaticn.)

f COUNT X
iV|CRlOUS LlABlLlTY - TRANSPORTAT|ON}

71. Mr. Henao, incorporates the allegations of paragraphs one through seventy above and,
in addition, avers that Defendant Transportation is vicariously-liable for its agents
choices that constitute negligence justifying an allowance of money damages against
defendant Transportation

M&
(NEGL|GENT HlRlNG, TRAlNlN_G AND SUPERV|S|ON - TRANSPORTATIOM

72. Mr. Henao, incorporates the allegations of paragraphs one through seventy-one above
and, in addition, avers that Defendant Transportation choices constitute negligent, hiring

training and supervision justifying an allowance of money damages against defendant

Transportation '

 

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QL_JN_TM
{NEGL|GENCE PER SE - TRANSPORTAT|ON)

73. Mr. Henao, incorporates the allegations of paragraphs one through seventy-two above
and, in additionl avers that Defendant Transportation choices constitute negligence per
se justifying an allowance of money damages against defendant Transportation._

PRAYER FOR REL|EF _
WHEREFORE, Jaime Henacl prays for a judgment against the Defendants, jointly
and severally, and that damages be awarded in an amount equal to past, present, and
future medical expenses, past present and future lost wages, past present and future pain
and suffering in the amount over ONE MlLLlON DO£LARS ($1,000,000.00) and that Mr.

Henac receives interests from the date of the incident described hereinl costs of this suit

and further relief as this Court deems proper.

JURY DEMAND
Mr. Henac demands a trial byjury on all issues presented.
Respectfully submitted,
cHAsENsosc`oi_o iN.iuRY i_AwYERs
B“y: §
Benjamin T. Boscolo

DC Bar No: 412860:
bboscolo@chasenboscolo.com

 

By:

    

astrandjord@chasenboscolo.com
7852 Walker Drive, Suite 300
Greenbelt. MD 20770
Telephone: (301) 220-0050
Facsimile: (301) 474-1230
Ccunsei for Jaime Henac

 

Case 1:18-cv-02564-T.]K Document 1-1 Filed 11/07/18 Page 12 of 18

Filed
D.C. Superior Court
10/01/2018 15:45PM

  

 

 

 

M. Superior Court of the District ol`Columbia Clerk of the Court
4;,“>*;_|?{€%{, CiviL DIVISION
fix 914 .;\_" 500 indiana Avt»nut», N.w.,suite 5000
\qi"' \_ /i/ Washington, D.C. 20001 Telephone: (2€)2) 879-1133
"?`\_`_~r»“a'~,¢'/_,\<`_$"'
`)i-..;s»
Jaime Henac
C.H. Robinson Company, lnc. mm
14701 Harlson Rd., EdenvE’rairel lVlD 55334 CaseNumber 2018 CA 006885 B
SERVE:
CSC-Lawyers incorporating Svc. Co.
7 St. Paui Si., Suite 830 Defendant
Baltimore, lVlD 21202 , _
SUMM.ONS

To the above named Defendant

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, 'vin`thin twenty (20) days after service of this summons upon you, exclusive
of the day of service lf you arc being sued as an officer or agency of the United Statcs Govemnient or the
District of Columbia Governrnent, you have sixty (_60) days alter service ot` this summons to solve your
Answer. A copy ot` the Answer must be mailed to the attorney for the party plaintiffth is suing you. The
attorney’s name and address appear below If plaintiff has no attorney, a copy of the Answer must be mailed
to the plaintiff at the address stated on this Summons.

Yoii are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
N.W., between 8:30 a.m. and 5: 00 p.m., Mondays through Fridays or between 9:0021.m. and 12:00 noon on
Saturdays. Y`ou may file the original Answer with the Court either before you serve a copy of the .Answer on
the plaintiff or within five (5) days after you have served the plaintil`l`. lt you fail to file an Answer, judgment
by default may be entered against you for the relief demanded in the complaint

Ashley E. Strandjord

Name of Piaintift"s Atto mey

7852 Walker Dr., Suite 300

 

 

 

 

 

 

Br
Add:css
Greenbelt lVlD 20770
(301) 220-0050 Date 10/12/2018
Telephonc
D.=EB‘I§.§?]'HLY (202) 879-4528 Veuiilez appeler au (202) 879-4526 pour une traducticn Bé co mci bat dich, hay got (202) 879-4828

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if you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer. promptly contact one of the offices of the
Legal Aid Socicty (202-628-.|161) or the Neighbcrltood Legal Services ('-.!02-279-5100`) for help or come to Suite 5000 at 500
Indiana Avenuc: N.W._ for more information concerning places Wl.ieic you may ask for such ltclp.

See reverse side for szinish translation
'v'ea al do,rso la uaduccic')n al espaitol.

FORM SUMMONS - Jan. 2011 C-ASUI\/Ldoc

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TRIBUNAL SUPERIOR DEL D]iSTRIT() D.E COLUB/,IB}A
nrvrsion ClviL
500 Indiana A.venue, N W., Suite 5000
W remington D.C. 2000! Teléf'ono: (2-02) 879-1133

 

 

 

 

_/
Jaime Henao
C. H Robinson Company, lnc. D~“m“da“!¢
14701 Harlson Rd. Eden Cci=raire_ MD 55334 _4
Nr'lmer<> de CHS.O: 2018 CA>106886 B
SERVE: CSC-Lawyers lncorporatirlg Svc. Co.
7 St. Paul Sf., Suite 830 Demandado
Ba|tlmore, lVlD 21202 CITATORIO

   

Al susodicho Demandado:

Por la presente se le cita a comparecer y se le require enlregar una Contestacion a manila adjunta, sea en
persona o per niedio de un abogado, en el plazo de veinte l2.0} dias eontados de' és que ustf' d haya recil)iclo este
ci'tatorio, excluyendo el dia mismo de la entrega del cital'orio. Si listed esta sien o ' 4tvtclado eli ca litie.d de official 0
agente del Gobiemo de los `Estados Unidos de Nor“rcamerica o del Gobiern l-)ist`n ' d.'e' Columbia, done usth
sesen'ra (60) dias contados de spires que listed lia.ya recibido este citatorioz_p'ua .»egar su Contestacic')n. 'l`iene que
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abogado eparecen al final de este documents Si el demandado 110 tie c abc ~ done que en'via.'rle al demandante ana
copia de la Contest'acién per correo ala direccion que aparece en este `

    
  
 
  
  
 
  
 
  
 
 
    

 

 

A usted tanil)ién se le require presentar la Contestaci' "
indiana Avenu._e N W., entire las 81 30 a. m. y 5 00 p. nl._. de

 
 

 

entre las 9:003._:11. y las l2: 00 del mediodia
ucz ya sea ames que Usted le entregue al
demandante una copia de la (` ontestacion o en el plaza d einco (5) dias de haberle liecho la entrega al demand:tnte. Si

 

 

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Asl ley E. St ndjod
Nontbre del altogadr> del Demandante

7852 Walker Dr., Suite 300

Direc<:ion

 

 

Subsecretarlo

 
 
   
  

(301) 220-0050

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DESA.GRA.VIO QUE SE BUSQUE EN LA DEMANT)A. SI ESTO OCURRE. POD.RiAN RETENEPJ.E SUS INGRESOS. O
PODRiAN TOMAR. SUS BIE'NES PERSONAI ES O RA.iCES Y VE.N`DERI OS _PARA PAG_AR EI. FAl./LO Sl USTED
PRETEN`D.E OPO\‘ERSE AESTA ACCION _\'DDFJ.E DE ".`ON'TE.S'D£R [_ § DE¢v I_`-,il\"._ TJ,-i DE"\"TRO DE[,P .".AZG F\"IG;ZDC)

Si desert converser con nn abogado y le parece que no puede a;frontar el costo de nno, lLame promo a. una de nnestras oticinas del
Leg,a_l A-id. Society (20'2.-628-116l) o el Neighhorhood I.eg,al Serv.ices (202 -2'79-5100) para pedir ayuda 0 ven-ga a la Ofic.ina 5{)0()
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SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
CIVIL DlVISION
Civil Actions Branch
500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
Telephone: (202) 879-1133 - Website: w\vw.dccourts.gov

 

JAIME HENAO
Vs. ' C.A. No. 2018 CA 006886 B
SMITHS DETECTIONS, INC. et al
INITIAL ORDER AND ADDENDUM

Pursuant to D.C. Code § 11-906 and District of Columbia Superior Court Rule of Civil Procedure
(“Super. Ct. Civ. R=”) 40-I, it is hereby ORDERED as follows:

(1) Effective this date, this case has assigned to the individual calendar designated below. All future Elings
in this case shall bear the calendar number and the judge’s name beneath the case number in the caption On
filing any motion or paper related thereto, one copy (for the judge) must be delivered to the Clerk along with the
original

(2)_Within 60 days of the filing of the complaint, plaintiff must file proof of serving on each defendant:
copies of the summons, the complaint, and this lnitial Order and A_ddendum. As to any defendant for whom
such proof of service has not been filed, tlie' Complaint will be dismissed without prejudice for want of
prosecution unless the time for serving the defendant has been extended as provided in Super. Ct. Civ. R. 4(m).

(3) Within 21 days of service as described above, except as otherwise noted in Super. Ct. Civ. R_ 12, each
defendant must respond to the complaint by filing an answer or other responsive pleading As to the defendant
who has failed to respond, a default and judgment will be entered unless the time to respond has been extended
as provided in Super. Ct. Civ. R. 55(a).

(4) At the time and place noted below, all counsel and unrepresented parties shall appear before the
assigned judge at an initial scheduling and settlement conference to discuss the possibilities of settlement and to
establish a schedule for the completion of all proceedings7 including, nonnally, either mediation, case evaluation,
or arbitration Counsel shall discuss with their clients pm to the conference whether the clients are agreeable to
binding or non-binding arbitrationl This order is the only notice that parties and counsel will receive
concerning this Conference.

(5) Upon advice that the date noted below is inconvenient for any party or counsel, the Quality Review
Branch (202) 879~1750 may continue the Conference once, with the consent of all parties, to either of the two
succeeding Fridays. Request must be made not less than seven business days before the scheduling conference

date.
No other continuance of the conference will be granted except upon motion for good cause shown

(6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil
cases, each judge’s Supplement to the General Order and the General Mediation Order. Copies of these orders
are available in the Courtroom and on the Court’s website _lit_tp;//www.dccourts.gov/.

Chief Judge Robeit E. Morin

Case Assigned to: Iudge NEAL E ICRAV'.[TZ l
Date: October 11 2018
Initial Conference: 9100 arn, Friday, December 28, 2018
Location: Couitroom 100

500 Indiana Avenue N.W.

wAan\iGToN, Dc 20001
CAlO-60

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A_DDENDUM TO INITIAL ORDER AFFECTING
ALL M'EDICAL MALPRACTICE CASES

In accordance with the Medical Malpractice Proceedings Act of2006, D.C. Code § 16-2801,
et seq. (2007 Wiriter Supp.), "[a]fter an action is filed in the court against a healthcare provider
alleging medical malpractice, the court shall require the parties to enter into mediation, without
discovery or, if all parties agree[,] With only limited discovery that will not interfere with the
completion of mediation within 30 days of the Initial Scheduling and Settlement Conference
("ISSC"), prior to any further litigation in an effort to reach a settlement agreement The early
mediation schedule shall be included in the Scheduling Order following the ISSC. Unless all
parties agree, the stay of discovery shall not be more than 30 days after the ISSC."
D.C. Code § 16-2821.

To ensure compliance with this legislation, on or before the date of the ISSC, the Court will
notify all attorneys and pro' se parties of the date and time of the early mediation session and the
name of the assigned mediator. Information about the early mediation date also is available over
the internet at https://www:dccourts.gov/pa!. To facilitate this process, all counsel and pro se
parties in every medical malpractice case are required to coiifer, jointly complete and sign an
EARLY MEDIATION FORM, which must be filed no later than ten (10) calendar days prior to the
ISSC. D.C. Code § 16-2825 Two separate Early Mediation Forms are available Both forms may be
obtained at www.dccourts.gov/medmalmediation. One form is to be used for early mediation with a
mediator ii'om the multi-door medical malpractice mediator roster; the second form is to be used for
early mediation with a private mediator. Both forrris also are available in the Multi-Door Dispute
Resolution Office, Suite 2900, 410 E Street, N.W. Plaintiffs counsel is responsible for eFiling the
form and is required to e-mail a courtesy copy to earlymedmal@dcsc.gov. Pro se Plaintiffs who
elect not to eFile may file by hand in the Multi-Door Dispute Resolution Oii‘icel

A roster of medical malpractice mediators available through the Court's Multi~Door Dispute
Resolution Division, with biographical information about each mediator, can be found at
www.dccourts.gov/medinalmediation/mediatorproiiles. All individuals on the roster are judges or
lawyers with at least 10 years of significant experience in medical malpractice litigation
D.C. Code§ 16-2823(a). If the parties cannot agree on a mediator, the Court will appoint one.
D.C. Code § 16-2823(b).

The following persons are required by statute to attend personally the Early Mediation
Conference: (1) all parties; (2) for parties that are not individuals, a representative with settlement
authority; (3) in cases involving an insurance company, a representative of the company with
settlement authority; and (4) attorneys representing each party with primary responsibility for the
case. D.C. Code § 16-2824.

No later than ten (10) days after the early mediation session has terminated, Plaintiff must
eFile with the Court a report prepared by the mediator, including a private mediator, regarding:
(1) attendance; (2) whether a settlement was reached; or, (3) if a settlement was not reached, any
agreements to narrow the scope of the dispute, limit discovery, facilitate filture settlement, hold
another mediation session, or otherwise reduce the cost and time of trial preparation
D.C. Code§ 16-2826. Any Plaintiii` who is pro se may elect to tile the report by hand with the Civil
Actions Branch. The forms to be used for early mediation reports are available at
www.dccourts. gov/medmalmediation.

Chief Judge Robert E. Morin

CAIO-60

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|N THE SUPER|OR COURT FOR THE D|STR|CT OF COLUMBIA
C|VIL DlVlS|ON

JA|ME HENAO
4920 CHOWAN AVENUE
ALEXANDR|A, VA 22312

Plai'ntiff,
v. : CHSB NO-! 2018 CA 006886 B

SM|THS DETECTION, INC. : r
2202 LAKES|DE BLVD.

EDGEWOOD, MD 21040

Serve on:

CT Corporation System

1015 15‘h Street NW

Suite 1000

Washington, DC 20005

and

C.H. ROB|NSON
TRANSPORTAT|ON COMPANY,
|NC., A/K/A C.H. RGB|NSON
COMPANY, |NC.

14701 HARLSON ROAD

EDEN PRA|RE, MN 55334
Serve on:

CSC-Lawyers lncorporating Svc. Co.:
7 St Paul St.

Suite 820

Baltimore, MD 21202

and

C.H. ROB|NSON COMPANY

14701 HARLSON ROAD

EDEN PRA|RE, MN 55334

Serve on:

CSC-Lawyers |ncorporatjng Svc. Co
7 St. Paul St .
Suite 820

Ba|timore, MD 21202

Defendants
LlNE TO ISSUE SUMMONS

 

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P|ease issue a summons for Defendants Smith Detections1 lnc.; CH. Robinson

Transportation Company, |nc.; and C.H. Robinson Company at the addresses listed

above and return same to our Greenbe|t address for service by private process.

By:

By:

R`espectfully submitted,
CHASENBOSCOLO lNJUR¥ LAWYERS

Benjamin T. Bosco|o

DC Bar No: 412860.:
bboscolo@chasenboscolo.com

 

gjc@tcr/%@/l@éa“¢d
éshley E. andjord,CEsq.

C Bar N ber: 1031554
astrandjord@chasenbosco|o.com
7852 Walker Drive, Suite 300
Greenbelt, MD 20770
Telephone: (301) 220-0050
Facsimile: (301) 474-1230
Counsel for Jaime Henac

 

 

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A|| |nformation Farty Event Docket Receipt Disposition c

Docket information
Date Docket Text lmage Avail.
09/28/2018 Comp|eint for Negligence Filed Receipt: 409586 Date: 10/01/2018

09/28/2018 ecomplaint. Filed. submitted 09/28/2018 13:04. ncv. i_ag§
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Ariomey: BoscoLo, ivlr BENJAMiN T (412860)
JAlME HENAO (Piainiiff);

10/01/2018 Event Scheduled
Event; initial Scheduling Conference-€O
Date: 12/28/2018 Time: 9:00 am
Judge: KRAV|TZ, NEAL E Location: Courtroom 100

 

 

 

 

https://eaccess.dccourts.gov/eaccess/search.page.3?x=Ci4xETrhuFYiiA2TGLP*-gBP-bSWSoSUthq1Ath20chDquSRQRng7reXk2XszU4J*-1zn.. 1/1

